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NOT FOR PUBLICATION

                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY

                                                                         RECEIVED
 UNITED STATES OF AMERICA ex rel.
 JOHN DOE,                                                                    MAR Dl 2018
                                                                        AT 8:30
                      Plaintiffs,                                           W/LllLIAl:AM'.i"':T:"":":.W~A-LS-H-M
                                                                                      CLERK

 v.                                                        Civ. No. 16-3718

 RANBAXY LABORATORIES LIMITED., et                         ORDER
 al.,

                      Defendants.


THOMPSON, U.S.D.J.

          IT APPEARING this matter was reopened, certain documents were unsealed, and all

claims were dismissed with or without prejudice on December 13, 2017 (ECF No. 9); and it

further

          APPEARING that the Court provided Relator leave to file a redacted complaint (ECF

Nos. 7, 9); and it further

          APPEARING that Relator has not filed a redacted complaint;
                              ·~
          IT IS on this   _lff~fFebruary, 2018,
          ORDERED that this case is CLOSED.




                                                           ANNE E. THOMPSON, U.S.
